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                                                             EXHIBIT A

                                                  Lordstown Motors Corp., et al.
                                                         Case No. 23-10831
                                     Summary Of Hours and Discounted Fees Incurred By Professional
                                            December 1, 2023 through December 31, 2023


                                                                                      Total
                                                                                      Billed         Hourly                Total
   Professional Person     Position & Department                                      Hours       Billing Rate          Compensation

   Celeste Campbell        Manager - Bankruptcy                                             2.4      $        298   $          715.20
   Dan Varnish             Senior Associate - Audit                                         0.5      $        300   $          150.00
   Darrin Schultz          Partner - Audit                                                  0.5      $        500   $          250.00
   Mark Schierholt         Managing Director - Audit                                        0.5      $        450   $          225.00
   Melina Lynn             Associate - Audit                                               53.2      $        250   $       13,300.00
   Mila Orobia             Associate - Bankruptcy                                           2.8      $        210   $          588.00
   Sara Rufo               Senior Manager - Audit                                          13.0      $        400   $        5,200.00
   Scott Stelk             Partner - Audit                                                  2.2      $        500   $        1,100.00

   Hours and Fees at Discounted Rates                                                     75.1                      $       21,528.20
   Total Discounted Fees                                                                                            $       21,528.20
   Out of Pocket Expenses                                                                                           $             -
   Total Fees & Out of Pocket Expenses                                                                              $       21,528.20
   Less Holdback Adjustment (20%)                                                                                   $       (4,305.64)
   Net Requested Fees & Out of Pocket Expenses                                                                      $       17,222.56


   Blended Hourly Rate                                                                                   $286.66




KPMG LLP Monthly Fee Statement                                                                                                 Page 1 of 12
